                                        SO ORDERED:
                                        Plaintiff's application for attorney's fees is
CHRISTOPHER JAMES BOWES, ESQ
                                        deemed timely filed. Furthermore, Plaintiff's
54 Cobblestone Drive
                                        request to defer filing of the memorandum of
Shoreham, New York 11786
Tel.: (212) 979-7575                    law for 60 days is granted. Plaintiff shall file
Fax: (631) 929-1700                     her memorandum of law by July 23, 2021
     CJB-8865                           and Defendant shall file his opposition by
Attorney for Plaintiff                  August 13, 2021.

                                        _____________________________
                                          _______________________   ___ 5-28-21
UNITED STATES DISTRICT COURT            JUDITH
                                          DITH C.C McCARTHY
                                                    M CARTHY
SOUTHERN DISTRICT OF NEW YORK           United States Magistrate Judge
-----------------------------------X
LISA C. GOMEZ,                     :
                                          NOTICE OF MOTION FOR
                Plaintiff,          :     ATTORNEYS FEES PURSUANT
                                         TO 28 U.S.C. § 2412
           -against-                :

ANDREW M. SAUL,                     :   7:19 Civ.9278(PMH)(JCM)
COMMISSIONER,
SOCIAL SECURITY ADMINISTRATION,    :

                Defendant.          :

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     PLEASE TAKE NOTICE that upon the accompanying Declaration

of Christopher James Bowes, dated December 22, 2020, plaintiff

will move this Court before the Honorable Judith C. McCarthy

United States Magistrate Judge, presiding, at the United States

Courthouse for the Southern District of New York, 300 Quarropas

Street, White Plains, NY, on submission, for an order:

     (1)   Accepting plaintiff's application for reasonable

attorney’s fees and costs pursuant to the Equal Access to

Justice Act ("EAJA"), 28 U.S.C. §2412(d), as timely filed;

     (2)    Granting plaintiff leave to defer filing a memorandum

of law in support of his application for fees for a period of 60
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days to permit the parties an opportunity to reach settlement of

the fee issue; and

      (3)   for such other and further relief as this Court may

deem just and proper.


Dated:      Shoreham, New York
            May 24, 2021



                                   Respectfully submitted,


                                   /s/Christopher James Bowes
                                   CHRISTOPHER JAMES BOWES, ESQ
                                   54 Cobblestone Drive
                                   Shoreham, New York 11786
                                   Tel.: (212) 979-7575
                                   Fax: (631) 979-1700
                                       CJB-8865
                                   Attorney for Plaintiff



To:   United States Attorney for the
       Southern District of New York
BY:   SAUSA James Desir
      26 Federal Plaza, Room 3904
      New York, NY 10278
